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                  UNITED STATES DISTRICT COURT
               MIDDLE DISTRICT OF LOUISIANA
 DE'JUAN THOMAS,
      Plaintiff

       V.                     3:17-cv-01595-SDD-EWD

 SALLY GRYDER, JAMES LEBLANC,
 JERRY GOODWIN, DOES 1-10
      Defendants
 _______________________________________________________
 BRIAN McNEAL,
      Plaintiff

       V.                     No. 18-cv-00736-JWD-EWD

 LOUISIANA DPS&C, et al
      Defendants
 ________________________________________________________
 ELLIS RAY HICKS,
      Plaintiff

       V.                     No. 19-108-SDD-RLB

 LOUISIANA DPS&C, et al
      Defendants
 ________________________________________________________
               UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF LOUISIANA
 RODNEY GRANT,
      Plaintiff

       V.                     Case No.17-cv-2797-NJB-DEK

 MARLIN GUSMAN, et al
      Defendants




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1                  DEPOSITION OF SECRETARY JAMES LEBLANC,
2     given in the above-entitled causes, pursuant to
3     the following stipulation, before Raynel E.
4     Schule, Certified Shorthand Reporter in and for
5     the State of Louisiana, at the Louisiana
6     Department of Public Safety and Correction, 604
7     Mayflower Street, Baton Rouge, Louisiana, 70802,
8     commencing at 10:00 o'clock a.m., on Thursday,
9     the 23rd day of May, 2019.
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 1    APPEARANCES:
 2    For the Plaintiffs:
 3    WILLIAM MOST, ESQ.
      Attorney at Law
 4    201 St. Charles Avenue, Suite 114#101
      New Orleans, Louisiana   70170
 5
 6    For the Defendants:
 7    TUNDE M. ANIMASHAUN
      Assistant Attorney General
 8    Section Chief, Civil Rights
      Litigation Division
 9    P.O. Box 94005
      Baton Rouge, Louisiana   70804
10
      and
11
      JAMES "GARY" EVANS
12    Assistant Attorney General
      Litigation Division
13    P.O. Box 94005
      Baton Rouge, Louisiana 70804
14
      and
15
      JEFFERY A. "BEAU" WHEELER, II
16    Assistant Attorney General
      Litigation Division
17    P.O. Box 94005
      Baton Rouge, Louisiana   70804
18
      And
19
      JONATHAN R. VINING
20    General Counsel
      Louisiana Department of Public Safety &
21         Corrections
      P.O. Box 94304
22    Baton Rouge, Louisiana    70804
23    Also Present: Stephen Geist
24    Reported By: Raynel E. Schule
                     Certified Shorthand Reporter
25                   State of Louisiana
26


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1                   S T I P U L A T I O N
2                  It is stipulated and agreed by and
3     among Counsel for the parties hereto that the
4     deposition of SECRETARY JAMES LEBLANC is hereby
5     being taken pursuant to the Federal Rules of
6     Civil Procedure for all purposes in accordance
7     with law;
8                  That the formalities of reading and
9     signing are not specifically waived;
10                 That the formalities of sealing,
11    certification, and filing are hereby
12    specifically waived.
13                 That all objections, save those as to
14    the form of the question and responsiveness of
15    the answer, are hereby reserved until such time
16    as this deposition or any part thereof is used
17    or sought to be used in evidence.
18                                * * * * *
19                     Raynel E. Schule, Certified
20    Shorthand Reporter in and for the State of
21    Louisiana, officiated in administering the oath
22    to the witness.
23
24
25



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1                  SECRETARY JAMES LEBLANC, having been
2          first duly sworn by Raynel E. Schule, was
3          examined and testified on his oath as
4          follows:
5                             EXAMINATION
6     BY MR. MOST:
7     Q.     Good morning, Secretary.
8     A.     Good morning.        How are you?
9     Q.     I'm doing well, thanks.          Yeah.      My name as
10         you know is William Most.              I represent the
11         Plaintiffs in the four cases that we're
12         here for today, which is Thomas v Gryder,
13         McNeal v Louisiana Department of Public
14         Safety & Corrections, Hicks v Louisiana
15         Department of Public Safety & Corrections,
16         and Grant v Gusman.
17                     MR. MOST:
18                     Mr. Evans, can we stipulate that
19               the deposition was properly noticed,
20               and the court reporter is duly
21               qualified?
22                     MR. EVANS:
23                     We can -- we can stipulate that it
24               was properly noticed; however, for the
25               -- for the document requests other than



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1          and Pardon and Parole Board.           Is that
2          right?
3     A.     That's correct, and -- and Juvenile
4          Services -- OJJ, Juvenile Services.
5     Q.     So what you operationally over -- oversee
6          includes corrections, probation and parole,
7          Prison Enterprises, correct?
8     A.     Correct.
9     Q.     Okay.    As Secretary, you're responsible for
10         the inmates sentenced to the custody of the
11         DOC, correct?
12    A.     Correct.
13    Q.     Whether or not they're in a state-run
14         facility, a parish-run facility, or
15         private-facility.         Is that correct?
16    A.     Correct.     That's correct.
17    Q.     And if the Department of Corrections has a
18         legal duty to do something with regards to
19         an inmate, it's your job as Secretary to
20         make sure that happens, correct?
21    A.     Correct.
22    Q.     For example, the Department of Corrections
23         has a legal duty to feed its inmates,
24         right?
25                      MR. EVANS:



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1          you as Secretary?
2     A.     It -- yeah, it does, and but there are
3          other parties that are involved in that
4          responsibility.
5     Q.     It's the Department of Corrections' duty to
6          timely release inmates, correct?
7                      MR. EVANS:
8                      Object to form.
9                      You can answer.
10                     THE WITNESS:
11                     It -- yeah, it is.        It's -- it's
12               our responsibility along with the Clerk
13               of Courts, along with the Judges, and
14               along with the Sheriffs Association.
15    BY MR. MOST:
16    Q.     And the department is -- of corrections is
17         legally bound to release inmates on their
18         release date, correct?
19                     MR. EVANS:
20                     Object to form.
21                     You can answer.
22                     THE WITNESS:
23                     Yes.
24    BY MR. MOST:
25    Q.     For example, the Department can't release



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1                      You can answer.
2                      THE WITNESS:
3                      It's -- it's a problem.
4     BY MR. MOST:
5     Q.     Okay.    Thousands of inmates being held past
6          their release date.        Do you not think it's
7          a big problem?
8     A.     I think I just said it's a problem.
9     Q.     It's a problem.      Do you think it's a big
10         problem?
11    A.     I -- I think -- yeah, I mean, I think it's
12         a problem.      I -- I mean, I don't know how
13         you define "big."
14    Q.     In your opinion is this a big problem?
15    A.     What's big?
16    Q.     Just in your own -- in your own belief?
17    A.     I think it's -- yeah, it's a big problem.
18    Q.     Okay.    So look at the next page, which is
19         entitled, "Financial Impact of Reducing
20         Immediate Releases & Transfers."             You see
21         that?
22    A.     Yep.
23    Q.     And you see it says, "The # of Immediate
24         Releases has been reduced to a rate of 1612
25         per year," right?



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1           Sigma Interventions, we've still got people
2           being held an average of about two months
3           past their release date, correct?
4     A.     Correct.
5     Q.     Okay.     Now, flip a couple of pages in to
6           the topic that says, "Lessons Learned."
7           The third bullet point says,
8           "Inconsistencies in the quality of the work
9           today requires 100% review by the
10          Supervisor."      You see that?
11    A.     I do.
12    Q.     So through this Six Sigma investigation,
13          you found out there were problems with the
14          work -- that the quality of the work that
15          the time calculation people were doing,
16          correct?
17    A.     That's what it looks like, yeah.
18    Q.     Okay.     Is that what you learned from this
19          investigation?
20    A.     Well, if it was in there, but remember now,
21          this -- this -- the Chief of Operations,
22          the Deputy Assistants, there's -- I mean,
23          they're more involved in these reports than
24          me.
25    Q.     Sure.



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1           documentation, I can't release them.
2           That's what I learned.
3     Q.     But you learned that thousands of people in
4           the custody of the Department of
5           Corrections for whatever reason were being
6           held past their release date, correct?
7     A.     I did.
8     Q.     Did anyone get fired at the Department of
9           Corrections because of that?
10    A.     No, because it -- it wasn't -- you know,
11          people have been fired over time because of
12          -- of miscalculations, but no, nobody got
13          fired over that because it wasn't just our
14          fault.
15    Q.     Did anyone get demoted?
16    A.     Not that I'm aware of.
17    Q.     Anyone get their dock -- their pay docked?
18    A.     I mean, since -- you're -- you're talking
19          about that day?
20    Q.     As a result of this investigation.
21    A.     No, no, not -- that wasn't an
22          investigation.
23    Q.     What do you call the --
24    A.     That's a study.
25    Q.     Okay.    Did anyone get their pay docked as a



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1           result of this study?
2     A.     No.
3     Q.     A reprimand of any kind?
4     A.     No.
5     Q.     Okay.
6     A.     Again, not that I'm aware of.            There's --
7     Q.     Sure.
8     A.     -- four people between me and -- and that
9           group, so if they did, I wasn't aware of
10          it.
11    Q.     Okay.
12    A.     That's probably a better answer.               I'm not
13          aware of anybody being --
14    Q.     Yep, and I can only ask you what you're
15          aware of so.      Okay.    So let's try and
16          figure out from this document where the
17          delay came from.       Will you look at that
18          page that says, "Statewide Vitals Pre &
19          Post LSS."
20    A.     Where are you in the document?
21    Q.     It's sort of in the -- the middle.               It's --
22    A.     Statewide Vitals again?
23    Q.     Yeah, the first page that says, "Statewide
24          Vitals."
25    A.     All right.



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1           were dealing -- during -- during between
2           2008 and 2016, '17, we -- we were taking
3           200 million dollars in cuts and lost four
4           prisons and 2000 employees.           My focus is --
5           is surviving, you know, and, you know,
6           there's a lot of things going on besides
7           figuring time for me.         I mean, you know,
8           you have -- I hope you understand that, and
9           but, you know, it's not like we -- we're
10          trying to avoid this issue.           We want to --
11          we want to fix this issue, and we -- we
12          have made every attempt at -- at fixing
13          this issue so --
14    Q.     And one thing you said that you may do in
15          the future, but haven't done in the past is
16          send -- is actually go out and get the
17          paperwork --
18    A.     Yeah.
19    Q.     -- the Department of Corrections itself?
20    A.     Yeah, that's right.        That's right, and --
21          and we -- we need reception centers to do
22          that.    I opened a new reception center to
23          -- to take in the five, but there -- it
24          wasn't just about the paperwork.                It was
25          about bringing people in and evaluating who



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1     A.     Good.
2     Q.     And we'll definitely have you out of here
3           for your GOHSEP meeting for sure with time
4           to spare.
5     A.     Couple of these I've circled I want.
6                       MR. EVANS:
7                       Well, these are our copies.
8                       MR. VINING:
9                       We -- we can talk when it's over.
10                      THE WITNESS:
11                      Yeah.
12    BY MR. MOST:
13    Q.     Okay.    So this is a document that says,
14          "Frequently Asked" corrections, right --
15          "Questions."
16    A.     Okay.
17    Q.     Does this appear to be the frequently asked
18          questions webpage from the Department of
19          Public Safety's website?
20    A.     It does, but let me say this that we are
21          developing a new website.
22    Q.     Okay.
23    A.     It's being rebuilt as we speak.                We have
24          hired somebody, and we're hoping this is
25          going to be a much improved website once we



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1           finish it, even though Senator Claitor
2           always brags on our -- our website, but --
3           he brags on information that he get's off
4           of our website.
5     Q.     Huh-huh.
6     A.     But anyway, I'm -- I'm sorry, go ahead.
7     Q.     So Page 3, at the top of Page 3 --
8     A.     Yeah.
9     Q.     -- it says, "If a person has recently been
10          sentenced to DOC custody, it can take up to
11          12 weeks to calculate a date as the
12          Department has to receive official
13          paperwork from the sentencing court in
14          order to calculate the offender's release
15          date."    Do you see that?
16    A.     I do.
17    Q.     Do you have any reason to believe that's
18          wrong?
19    A.     Well, I have reason to believe that's in
20          there because it's -- it's for those people
21          that might have 20 years to do and that we
22          get the phone calls from family members
23          that just over -- you know, just inundates
24          us with -- with requests for when they're
25          going to get out, and I'm not sure that



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1           that -- that -- 12 weeks is ridiculous.                     I
2           mean, I -- I saw this somewhere.                 I -- I've
3           seen this before, and I haven't fixed that
4           yet, but that's something we need to
5           address too.      I mean, that's just absurd.
6     Q.     Do you have any reason to believe that
7           short timers' time computation is
8           prioritized a lot of times?
9     A.     You know, I -- I -- I thought it was.                  I
10          mean, to my understanding that it is, but I
11          -- you know, again, I -- I have to defer to
12          Chief and -- and Derrick the assistant --
13          the Deputy Assistant Secretary and them.
14    Q.     And if it's not prioritized, that would be
15          a problem?
16    A.     Yeah, I mean, I think it is.            Yeah, I mean,
17          obviously they -- those are the ones that
18          we need to put on top the stack if you
19          will.
20    Q.     Okay.    That was part of the problem in the
21          Six Sigma report is that you had a stack
22          that was 1400 inmates high, right?
23    A.     Yeah.
24    Q.     Okay.    Okay.       Do you recall that in 2003,
25          the State of louisiana paid $125,000 to an



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1           they -- they try to say that we were -- but
2           we -- we -- we balance that every month
3           paying wise.      When we pay our bills, we
4           make sure we're not double paying, and --
5           and so all that's reconciled at -- at some
6           point, but it is -- it's -- it's a
7           challenge to keep up with them at the local
8           level, and I think we have a handle on it.
9     Q.     So it's relatively common that the
10          Department of Corrections thinks an inmate
11          is in one place, but actually they're in
12          another, correct?
13    A.     Well, I mean, I -- you know, I'm not sure
14          that we're thinking about where an inmate
15          is at the local level.          We know that he's
16          in a jail somewhere and locked up.               I mean,
17          he's -- he's okay.         It's not a public
18          safety issue.         So, you know, yeah, I mean,
19          I guess the answer to that question would
20          be yes, but it's not something that we
21          perceive as a major problem.
22    Q.     Okay.    So one of the things you mentioned
23          today that the DOC could do to mitigate the
24          problem of people being held past their
25          release date is for the DOC to go out and



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1           get the paperwork itself rather than just
2           waiting to receive it, right?
3     A.     For DOC to get it versus a sheriff, not
4           really concerned about it.           You know, and
5           that's -- that's -- that's the difference.
6     Q.     Right.
7     A.     Yeah.    So yes.
8     Q.     What other things could be done to mitigate
9           this problem?
10                      MR. EVANS:
11                      Object to form, but you can
12               answer.
13                      THE WITNESS:
14                      Well, I -- I think the
15               modernization of our system is -- is --
16               is going to help a great deal.             I think
17               the Uniform Commitment Order, I -- I
18               think that -- I mean, to me that's the
19               way to resolve this if we could get
20               everybody on the same page, and we get
21               a Uniform Commitment Order, not have to
22               worry about what the sentencing minutes
23               say and what this says and trying to
24               compare, and they don't ever agree
25               seems like most of the time, and that's



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1           know, I mean, to me that -- that -- that --
2           that's -- that's a -- that's part of the
3           resolution, and -- and I think this web
4           portal with this grant where we can
5           communicate, where, you know, everybody
6           right now is on different systems, and you
7           know that better than I do probably, but --
8           but getting everybody in a portal, and I
9           don't understand web-based portals, but if
10          everybody can communicate electronically to
11          us, then that along with the Uniform
12          Commitment Order, I think that would be a
13          -- a -- a fix in my opinion.
14    Q.     Do you talk to other heads of other states'
15          departments of corrections?
16    A.     You know, I haven't -- the -- the issue
17          with, and -- and I'm -- no, I haven't and
18          -- and -- and we are looking at -- right
19          now we are looking at what software is
20          being used in other states.           We -- we --
21          we've began that process, and we probably
22          maybe should have started that a little
23          sooner, but their -- their issues are not
24          nearly as complex or challenging as ours
25          because of the local jail situation.               I



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1           think Kentucky is the closest one to us
2           that has people in local jails, but
3           ultimately they end up in a state facility.
4           They don't leave them there and discharge
5           from there.      So our -- our challenges with
6           time computation is so much different than
7           -- than the other states, but there's no
8           reason why we can't at least see what's
9           going on and -- and if we can't -- I think
10          this web portal thing is maybe when we
11          start looking around, and -- and finding
12          out what's going on, but I don't know how
13          much information we've gotten so far, but
14          we are looking at other states right now.
15    Q.     Do you know of any other state that has the
16          magnitude of an issue with people being
17          held past their release dates that
18          Louisiana has?
19    A.     No, and I -- I think -- I think the
20          majority of these cases is going to be in
21          local jails.
22    Q.     Okay.
23    A.     And that's -- that's -- that's the
24          difference.
25    Q.     You had a meeting on March 25th with the



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